                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                              No. CR07-3036-MWB
 vs.                                          ORDER ACCEPTING MAGISTRATE
                                                  JUDGE’S REPORT AND
 GLENN EDWARD SHEKA, JR.,
                                              RECOMMENDATION REGARDING
                Defendant.                      DEFENDANT’S GUILTY PLEA
                                ____________________

                       I. INTRODUCTION AND BACKGROUND
         On August 30, 2007, an indictment was returned against defendant Glenn Edward
Sheka, Jr. charging him with conspiracy to manufacture and distribute 500 grams or more
of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846; and,
being an unlawful user of controlled substances in possession of firearms, in violation of
18 U.S.C. §§ 922(g)(3) and 924(a)(2). On January 17, 2008, defendant appeared before
United States Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 7 of the
indictment and a lesser included offense of Count 1, namely conspiracy to distribute 50
grams or more of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)
and 846. On this same date, Judge Scoles filed a Report and Recommendation in which
he recommends that defendant’s guilty plea be accepted. No objections to Judge Scoles’s
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Scoles’s recommendation to accept defendant’s plea in this case.


                                     II. ANALYSIS
The court reviews the magistrate judge’s report and recommendation pursuant to the



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statutory standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of

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review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation.       Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Scoles’s Report and Recommendation of January 17, 2008, and
accepts defendant’s plea of guilty in this case to Count 7 of the indictment, and conspiracy
to distribute 50 grams or more of methamphetamine, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(B) and 846, a lesser included offense of Count 1.
       IT IS SO ORDERED.
       DATED this 1st day of February, 2008.


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                                                   MARK W. BENNETT
                                                   U. S. DISTRICT COURT JUDGE
                                                   NORTHERN DISTRICT OF IOWA




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